                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 1 of 11 Page ID #:727


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                                                                                                        12                               UNITED STATES DISTRICT COURT
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                                                                                                        13                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        14                                          WESTERN DIVISION
                                                                                                        15 SARA EBRAHIMI,                 )                        Case No. 2:16-cv-07316-DMG-KS
                                                                                                                                          )
                                                                                                        16            Plaintiff,          )                        Hon. Dolly M. Gee
                                                                                                                                          )
                                                                                                        17         v.                     )                        DEFENDANT MENTOR
                                                                                                                                          )                        WORLDWIDE LLC’S REPLY IN
                                                                                                        18    MENTOR WORLDWIDE LLC;       )                        SUPPORT OF RULE 12(b)(6) MOTION
                                                                                                              JOHNSON & JOHNSON SERVICES, )                        TO DISMISS PLAINTIFF’S SECOND
                                                                                                        19    INC.                        )
                                                                                                                                          )                        AMENDED COMPLAINT FOR
                                                                                                        20            Defendants.         )                        FAILURE TO STATE A CLAIM
                                                                                                                                          )
                                                                                                        21                                )                        Date:                  December 15, 2017
                                                                                                                                          )                        Time:                  9:30 A.M.
                                                                                                        22                                )
                                                                                                                                          )                        Courtroom:             8C
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                                                                                                                  REPLY IN SUPPORT OF MENTOR’S MOTION TO DISMISS SECOND AMENDED COMPLAINT- CASE NO. 2:16-CV-07316-DMG-KS
                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 2 of 11 Page ID #:728


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                                                                                                         2                 REPLY MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                         3 I.        INTRODUCTION
                                                                                                         4           In her belatedly filed opposition to Defendant Mentor Worldwide LLC’s
                                                                                                         5 (“Mentor”) Motion to Dismiss, Plaintiff misinterprets the applicable law and ignores
                                                                                                         6 Defendant’s arguments. Plaintiff again attempts to evade express and implied
                                                                                                         7 preemption by disguising allegations of “failure to complete studies” as a claim for
                                                                                                         8 “failure to report adverse events.” Plaintiff does not, however, set forth any actual
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                                                                                                         9 adverse events that Mentor failed to report. Her failure to warn claim is based on
                                                                                                        10 nothing more than conclusory assumptions atop unfounded deductions, which is
                                                                                                        11 insufficient to survive dismissal. Likewise, Plaintiff’s manufacturing defect claim is
                                                                                                        12 devoid of factual allegations necessary to sustain a non-preempted parallel claim. At
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                                                                                                        13 bottom, Plaintiff cannot fix the problems inherent in her original and First Amended
                                                                                                        14 Complaints which led to dismissal. See Order of Sept. 15, 2017 [Doc. 23] at 7, reported
                                                                                                        15 as Ebrahimi v. Mentor Worldwide LLC, No. CV 16-7316-DMG, 2017 WL 4128976, --
                                                                                                        16 F. Supp. 2d -- (C.D. Cal. 2017); Order of Nov. 14, 2017 [Doc. 27]. Accordingly,
                                                                                                        17 Plaintiff’s Second Amended Complaint should be dismissed in its entirety with
                                                                                                        18 prejudice.
                                                                                                        19 II.       ARGUMENT
                                                                                                        20            A.     Plaintiff Does Not Assert A Properly Pleaded Failure-to-Warn Claim
                                                                                                                             That Survives Preemption
                                                                                                        21
                                                                                                        22                         1.      Plaintiff has not pled facts supporting a parallel failure-to-
                                                                                                                                           warn claim – her claims are based on follow-through
                                                                                                        23                                 studies and impliedly preempted.
                                                                                                        24           Plaintiff’s failure to warn claim is still premised entirely on the dubious
                                                                                                        25 allegation that because Mentor failed to complete its post-approval studies or have
                                                                                                        26 sufficient follow-up that it must necessarily follow that Mentor failed to report adverse
                                                                                                        27 events to the FDA. Pl.’s Opp. at 5–8. Plaintiff attempts to backpedal from her previous
                                                                                                        28 reliance on post-approval studies, hedging that Plaintiff “does not premise either of her


                                                                                                                  REPLY IN SUPPORT OF MENTOR’S MOTION TO DISMISS SECOND AMENDED COMPLAINT- CASE NO. 2:16-CV-07316-DMG-KS
                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 3 of 11 Page ID #:729



                                                                                                         1 causes of action solely on the violation of the FDA’s premarket approval (“PMA”)
                                                                                                         2 conditions.” Id. at 6. But this assertion is belied by her own arguments. Immediately
                                                                                                         3 after this pronouncement, Plaintiff argues that due to low follow-up rates and
                                                                                                         4 ineffective study design, “Mentor failed to comply with these [post-approval study]
                                                                                                         5 FDA requirements, resulting in a deficiency in the reporting of adverse events.” Id. at
                                                                                                         6 7 (emphasis added). Plaintiff goes on to argue, “By maintaining inadequate post-
                                                                                                         7 approval studies, Mentor willfully ignored adverse effects that would have been
                                                                                                         8 apparent if these studies had been conducted at the capacity and efficiency of what had
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                                                                                                         9 originally been designed for purposes of the PMA.” Id. at 8 (emphasis added). She
                                                                                                        10 concludes, “Under California law, Mentor had a duty to provide adequate warnings,
                                                                                                        11 through well-maintained and –reported follow-up studies . . .” Id. (emphasis added).
                                                                                                        12 Plaintiff’s own SAC and brief makes it manifestly clear that Plaintiff’s failure to warn
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                                                                                                        13 claim is based entirely on alleged flaws in Mentor’s post-approval studies; fully 31
                                                                                                        14 paragraphs of the SAC – virtually all of the “Factual Allegations” – deal with Mentor’s
                                                                                                        15 post-approval studies. See SAC at ¶¶ 1, 5–6, 13, 27–54, 61. This Court has already
                                                                                                        16 held that claims such are impliedly preempted because there is no state-law duty to
                                                                                                        17 conduct post-approval studies. See Order [Doc. 23] at 7. Plaintiff concedes this point.
                                                                                                        18 Pl.’s Opp. at 5 (“While there may be no ‘state-law duty to conduct post-approval
                                                                                                        19 studies,’”); 7 (“While there is no state-law duty to conduct post-approval studies…”).
                                                                                                        20                        2.         Plaintiff pleads no specific instances of adverse events
                                                                                                                                             Mentor allegedly failed to report.
                                                                                                        21
                                                                                                        22          Plaintiff continues to make only conclusory allegations that Mentor failed to
                                                                                                        23 report adverse events without specific instances of actual adverse events. But “[t]o
                                                                                                        24 survive a motion to dismiss on a state law failure to warn claim that is parallel to
                                                                                                        25 federal regulations the complaint ‘must include allegations of actual adverse events that
                                                                                                        26 Defendants did not report.’” Weaver v. Ethicon, No. 16cv257-GPC(BGS), 2016 WL
                                                                                                        27 7098781, at *6 (S.D. Cal. Dec. 6, 2016) cited in Order [Doc. 23] at 8.
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                                                                                                                 REPLY IN SUPPORT OF MENTOR’S MOTION TO DISMISS SECOND AMENDED COMPLAINT - CASE NO. 2:16-CV-07316-DMG-KS
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                                                                                                         1            The SAC is devoid of any allegations of actual adverse events that Mentor did
                                                                                                         2 not report. Plaintiff argues that “Mentor failed to report the following adverse events
                                                                                                         3 from the six new or ongoing studies commissioned as part of implant’s PMA approval,
                                                                                                         4 all of which would have led to reports suggesting the device’s contribution to death or
                                                                                                         5 serious injury: . . .” Pl.’s Opp. at 2 (emphasis provided). But what follows is not a list
                                                                                                         6 of actual adverse events that Mentor failed to report, but simply a recitation of
                                                                                                         7 Mentor’s PMA study follow-up rates, as set forth in the FDA Update. Exhibit 1 to
                                                                                                         8 Mentor’s Request for Judicial Notice [Doc. 26]. Plaintiffs cites zero adverse events
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                                                                                                         9 Mentor allegedly failed to report. Plaintiff’s conclusory allegations that low follow-up
                                                                                                        10 in post-approval studies means adverse events went unreported is pure speculation; it
                                                                                                        11 does not necessarily or logically follow. Patients fail to return to their doctors for
                                                                                                        12 follow-up for all kinds of reasons, including because they are fine and are not
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                                                                                                        13 experiencing adverse events. Moreover, Plaintiff still “fails to sufficiently allege what
                                                                                                        14 the ‘systemic ailments’ are that the post-approval studies revealed and merely surmises,
                                                                                                        15 in conclusory fashion, that they ‘can only be attributed to gel bleed.’” Order [Doc. 23]
                                                                                                        16 at 8.
                                                                                                        17            Plaintiff simply does not plead any facts that would allow the court to reasonably
                                                                                                        18 infer that Mentor failed to report an adverse event. A court need not “accept as true
                                                                                                        19 allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
                                                                                                        20 interferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008).1
                                                                                                        21 Plaintiff thus has not ‘nudge[d] [her] claims across the line from conceivable to
                                                                                                        22 plausible.’” Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 997
                                                                                                        23 (9th Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, (2007)
                                                                                                        24 (internal alteration omitted)); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                                                                                                        25
                                                                                                        26    1 See
                                                                                                                 also Simmons v. Boston Scientific Corp., No. CV 12-7961 PA (FFMx), 2013 WL
                                                                                                        27 1207421, at *5 (C.D. Cal. Mar. 25, 2013) (dismissing plaintiffs’ failure to warn claim
                                                                                                           because they “ provide no factual allegations sufficient to render plausible their claim
                                                                                                        28 that Defendants violated this federal obligation [filing adverse event reports].”).
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                                                                                                                 REPLY IN SUPPORT OF MENTOR’S MOTION TO DISMISS SECOND AMENDED COMPLAINT - CASE NO. 2:16-CV-07316-DMG-KS
                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 5 of 11 Page ID #:731



                                                                                                         1          Contrary to Plaintiff’s assertion, the Ninth Circuit’s decision in Stengel v.
                                                                                                         2 Medtronic does not compel a different result here. 704 F.3d 1224 (9th Cir. 2013). In
                                                                                                         3 Stengel, the plaintiff-patient had a catheter surgically implanted in his abdomen to
                                                                                                         4 facilitate pain relief, which later allegedly caused him paralysis. Id. at 1227. The
                                                                                                         5 plaintiff pled specific facts showing that after the pain pump was approved for use by
                                                                                                         6 the FDA, Medtronic became aware that of the risks of paralysis but had failed to
                                                                                                         7 inform the FDA in violation of the MDA. Id. Moreover, the FDA discovered the risks,
                                                                                                         8 and discovered that Medtronic was aware of the risks when it inspected a Medtronic
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                                                                                                         9 facility in 2006 and 2007. Id. FDA issued Medtronic a warning letter and the device
                                                                                                        10 was eventually recalled three years after plaintiff’s injury. Id. Relying on those facts,
                                                                                                        11 the Ninth Circuit found that a failure to report adverse events to the FDA supported a
                                                                                                        12 parallel claim that survived express and implied preemption because “Arizona law
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                                                                                                        13 contemplates a warning to a third party such as the FDA.” Id. at 1233.
                                                                                                        14          In stark contrast to Stengel, in which the plaintiffs came forward with specific
                                                                                                        15 factual allegations supporting their proposed parallel claim, Plaintiff here provides no
                                                                                                        16 factual support to demonstrate her unwarranted claim that Mentor “failed to report
                                                                                                        17 adverse events.” She points to no FDA warning letters or recalls evidencing a failure
                                                                                                        18 to report or any failure to inform the FDA of known risks. In fact, Plaintiff’s own
                                                                                                        19 allegations and appended exhibits demonstrate that the FDA was well aware of the
                                                                                                        20 possibility that gel bleed—which Plaintiff alleges caused her injury—was a potential
                                                                                                        21 risk of a properly designed and manufactured Mentor MemoryGel Silicone Breast
                                                                                                        22 Implant and granted approval for the device nonetheless. The possibility of gel bleed
                                                                                                        23 was communicated to consumers, healthcare providers and the FDA prior to the
                                                                                                        24 implantation of Plaintiff’s implants through FDA-approved labeling.                             See Patient
                                                                                                        25 Brochure at 24–25, Exhibit 2 to Pl.’s SAC; Product Insert Data Sheet at 22, Exhibit 10
                                                                                                        26 to Pl.’s SAC. Plaintiff fails to allege a plausible parallel failure to warn claim.
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                                                                                                                                  3.      Plaintiff’s claim is nothing more than a routine failure to
                                                                                                         1                                warn claim, which is expressly preempted.
                                                                                                         2          Throughout her Second Amended Complaint and her Opposition, Plaintiff makes
                                                                                                         3 it clear that her failure to warn claim, at its root, is predicated on alleged deficiencies in
                                                                                                         4 the labeling approved by the FDA through the premarket approval process. She admits
                                                                                                         5 as much in her opposition when she claims that the “risk of a significant gel bleed was
                                                                                                         6 not disclosed or discussed in what Mentor calls its ‘Directions for Use’ or in its
                                                                                                         7 consumer labeling.” Pl.’s Opp. at 11. This is despite the fact that, as this Court already
                                                                                                         8 observed, the FDA and Plaintiff herself, were warned of the risk of gel-bleed. See
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                                                                                                         9 Order [Doc. 23] at 8; Patient Brochure at 24–25, Exhibit 2 to Pl.’s SAC; Product Insert
                                                                                                        10 Data Sheet at 22, Exhibit 10 to Pl.’s SAC. As such, Plaintiff’s failure to warn claim
                                                                                                        11 essentially seeks a change in the FDA-approved labeling, rendering that claim
                                                                                                        12 expressly preempted under Riegel. See Mentor’s Mot. at 3–5.
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                                                                                                        13                  B.      Plaintiff’s Manufacturing Defect Claim is Predicted on
                                                                                                        14                          Conclusory Allegations and Does Not Constitute a Parallel
                                                                                                                                    Claim.
                                                                                                        15
                                                                                                        16          Plaintiff’s manufacturing defect claim is not a viable parallel claim as it is
                                                                                                        17 composed of nothing more that conclusory allegations. A plaintiff “cannot simply
                                                                                                        18 incant the magic words ‘[defendant] violated FDA regulations’ in order to avoid
                                                                                                        19 preemption.” Simmons, 2013 WL 1207421, at *4 (quoting Wolicki-Gables v. Arrow
                                                                                                        20 Int’l, Inc., 634 F.3d 1296, 1301 (11th Cir. 2011)). And yet that is what Plaintiff
                                                                                                        21 attempts here.
                                                                                                        22          To plead an adequate, non-preempted parallel claim for federal violations in
                                                                                                        23 manufacturing, the plaintiff must identify “what went wrong in the manufacturing
                                                                                                        24 process and cite[] the relevant FDA manufacturing standards [that were] allegedly
                                                                                                        25 violated.” Bass v. Stryker, 669 F.3d 501, 510 (5th Cir. 2012) (quoting Funk v. Stryker
                                                                                                        26 Corp., 631 F.3d 777, 782 (5th Cir. 2011)). In Bass, the court found that the plaintiff
                                                                                                        27 had met the plausibility standard articulated in Twombly based on allegations that a
                                                                                                        28 component was adulterated in violation of specifically identified federal regulations, as
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                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 7 of 11 Page ID #:733



                                                                                                         1 well as: the FDA’s recently issued warning letter noting the defendants’ failure to take
                                                                                                         2 measures to reduce a microbial contaminant at a specific point in the manufacturing
                                                                                                         3 process; allegations that the contaminant was known to cause the specific injury
                                                                                                         4 complained of by the plaintiff; and the defendants’ recall of the component at issue
                                                                                                         5 after the issuance of the warning letter. Id. Such allegations were sufficient to render
                                                                                                         6 plausible plaintiff’s claim that the defendants violated FDA regulations in the
                                                                                                         7 manufacturing process and that these violations resulted in the defect that caused
                                                                                                         8 plaintiff’s injuries. Id. at 510, 515.
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                                                                                                         9          Unlike Bass, none of the operative facts that allowed the court to find a parallel
                                                                                                        10 manufacturing defect claim are present here. She concludes, based on the “preliminary
                                                                                                        11 findings” of Dr. Pierre Blais, Ph.D., that because he noted subjective “poor quality of
                                                                                                        12 workmanship and patch defects” and “shell failure,” that the implants did not conform
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                                                                                                        13 to Mentor’s product design.2 But that is not enough. Plaintiff does not explain Dr.
                                                                                                        14 Blais’s methodology or the basis for his findings; does not identify any specific defect
                                                                                                        15 or how the implants deviated from their PMA-approved specifications; and does not
                                                                                                        16 identify any FDA regulation that Mentor violated during the manufacturing of the
                                                                                                        17 implant. Plaintiff’s Complaint does not plead facts about “what went wrong in the
                                                                                                        18 manufacturing process” or “cite[] the relevant FDA manufacturing standards [that
                                                                                                        19
                                                                                                           2 While Mentor understands that the Court must take the well-pleaded allegations of the
                                                                                                        20 Complaint as true for purposes of a Rule 12(b)(6) motion, Plaintiff’s attempted reliance
                                                                                                        21 on work by Dr. Pierre Blais should give this Court pause. He has been found, over and
                                                                                                           over, to be unqualified to testify regarding breast implants. He is not a medical doctor,
                                                                                                        22 toxicologist, engineer, or pathologist. He has been excluded in virtually every breast
                                                                                                        23 implant case since the 1990s in which he has attempted to testify because what he does
                                                                                                           is not science and his opinions are creation for litigation. See Laux v. Mentor
                                                                                                        24 Worldwide, LLC, No. 2:16-cv-01026-ODW (AGR), 2017 WL 5235619, *5, -- F. Supp.
                                                                                                        25 3d ---- (C.D. Cal. Nov. 8, 2017) (finding Blais’s opinions “not reliable”) (collecting
                                                                                                           cases); Cottengim v. Mentor Corp., No. 05-161-DLB, 2007 WL 4553995 (E.D. Ky.
                                                                                                        26 Sept. 24, 2007); Alfred v. Mentor Corp., 479 F. Supp. 2d 670 (W.D. Ky. 2007);
                                                                                                        27 Pozefsky v. Baxter Healthcare Corp., No. 92-CV-0314, 2001 WL 967608 (N.D.N.Y.
                                                                                                           Aug. 16, 2001); Havard v. Baxter Int’l Inc., No. 1:92CV0863, 2000 U.S. Dist. LEXIS
                                                                                                        28 21316 (N.D. Ohio July 21, 2000).
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                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 8 of 11 Page ID #:734



                                                                                                         1 were] allegedly violated” as Plaintiff concedes she must. See Pl.’s Opp. at 10; Bass,
                                                                                                         2 669 F.3d at 510. The fact that Plaintiff’s SAC makes a conclusory allegation about
                                                                                                         3 Blais’s findings does not make it a plausible allegation of a manufacturing defect that
                                                                                                         4 survives preemption.
                                                                                                         5          Plaintiff’s only other purported evidence of a manufacturing violation is the
                                                                                                         6 unsupported allegation of the gel bleed itself and unspecified references to generic
                                                                                                         7 current Good Manufacturing Practices, which are simply insufficient to establish a
                                                                                                         8 viable claim surviving preemption. Frere v. Medtronic, No. EDCV 15-02338-
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                                                                                                         9 BRO(DTBx), 2016 WL 1533524, at *6 (C.D. Cal. Apr. 6, 2016) (cGMPs are “too
                                                                                                        10 generic, standing alone, to serve as the basis for [a plaintiff’s] manufacturing defect
                                                                                                        11 claim.”); Order [Doc. 23] at 9. Plaintiff’s manufacturing defect claim should thus be
                                                                                                        12 dismissed.
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                                                                                                        13          C.      Plaintiff Still Has Not Alleged a Causal Nexus Between the Alleged
                                                                                                        14                  Violations and Her Injuries.

                                                                                                        15          Plaintiff still has not established a causal nexus between her alleged injuries and
                                                                                                        16 the alleged federal violations. To properly plead parallel claims that survive
                                                                                                        17 preemption, a plaintiff must allege (1) the violation of a specific federal requirement
                                                                                                        18 applicable to the device; (2) the violation of an identical state-law duty; and (3) that the
                                                                                                        19 predicate federal violation caused his or her injuries.” Millman v. Medtronic, No. 14-
                                                                                                        20 cv-1465, 2015 WL 778779, at *4 n.2 (D.N.J. Feb. 24, 2015).
                                                                                                        21          Plaintiff makes only the conclusory statement that “[i]f the full extent of the
                                                                                                        22 product’s adverse effects had been reported, neither Plaintiff nor her physician would
                                                                                                        23 have selected the product for implantation into her body.” Pl.’s Opp. at 8. She has not,
                                                                                                        24 however, done more than simply recite the progress of Mentor’s post-approval studies,
                                                                                                        25 which is available on the FDA website and closely monitored by the FDA. Plaintiff’s
                                                                                                        26 argument is exactly the same as her argument in opposition to Mentor’s motion to
                                                                                                        27 dismiss Plaintiff’s original Complaint. This Court held that Plaintiff failed to
                                                                                                        28 “sufficiently allege a causal nexus between her injuries and Mentor’s failure to report
                                                                                                                                                                   8
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                                                                                                             Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 9 of 11 Page ID #:735



                                                                                                         1 adverse events to the FDA.” Order [Doc. 23] at 8 (emphasis in original). Plaintiff still
                                                                                                         2 does not allege, for instance, “how any ‘gel bleed’ issue would have caused the FDA to
                                                                                                         3 require different labeling, especially given that the FDA—and Ebrahimi herself for that
                                                                                                         4 matter—was aware of the risk of gel bleeding.” Id. Similarly, Plaintiff still “fails to
                                                                                                         5 allege how any reporting by Mentor to the FDA would have caused her surgeon to stop
                                                                                                         6 using the Implants or her to refrain from having the breast-implant surgery with the
                                                                                                         7 devices at issue, considering the potential health consequences of which she was
                                                                                                         8 already aware.” Id. Plaintiff has not even attempted to address the Court’s concern
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                                                                                                         9 regarding a causal nexus. This Court expressly rejected Plaintiff’s allegations for a lack
                                                                                                        10 of causation, and Plaintiff has not pled any additional facts that would change this
                                                                                                        11 Court’s prior ruling.
                                                                                                        12          And contrary to Plaintiff’s assertion, her allegations are not similar to those in
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                                                                                                        13 Eidson v. Medtronic, Inc., 40 F.Supp.3d 1202 (N.D. Cal. 2014). As Plaintiff herself
                                                                                                        14 acknowledges, the Eidson plaintiff provided studies demonstrating the actual
                                                                                                        15 underreporting of adverse events, which if reported, could have made plaintiff’s
                                                                                                        16 surgeon aware of the adverse events. As discussed above, Plaintiff does not provide
                                                                                                        17 any factual support for her conclusion that Mentor did not report adverse events.
                                                                                                        18 Furthermore, this Court apparently found no merit in Plaintiff’s reliance on Eidson,
                                                                                                        19 because Plaintiff advanced this argument in her opposition to the first motion to
                                                                                                        20 dismiss, but this Court found Plaintiff failed to adequately plead causation nonetheless.
                                                                                                        21 Order [Doc. 23] at 8.
                                                                                                        22 III.     CONCLUSION
                                                                                                        23          Based on the above, Defendant Mentor Worldwide LLC respectfully requests
                                                                                                        24 that the Court enter an order granting Defendant’s Rule 12(b)(6) Motion to Dismiss
                                                                                                        25 and dismiss Plaintiff’s action, with prejudice, in its entirety.
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                                                                                                         Case 2:16-cv-07316-DMG-KS Document 34 Filed 12/04/17 Page 10 of 11 Page ID #:736



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                                                                                                             DATED: December 4, 2017                          TUCKER ELLIS LLP
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                                                                                                         4                                                    By: /s/Monee Takla Hanna
                                                                                                         5                                                        Mollie F. Benedict
                                                                                                                                                                  Monee Takla Hanna
                                                                                                         6                                                        Attorneys for Defendant Mentor
                                                                                                         7                                                        Worldwide LLC

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                                                                                                               REPLY IN SUPPORT OF MENTOR’S MOTION TO DISMISS SECOND AMENDED COMPLAINT - CASE NO. 2:16-CV-07316-DMG-KS
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                                                                                                         1                                  CERTIFICATE OF SERVICE
                                                                                                         2           I hereby certify that on this 4th day of December, I electronically filed the
                                                                                                         3 foregoing with the Clerk of the Court using the CM/ECF System, which shall send
                                                                                                         4 notification of such filing.
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                                                                                                                                                                  /s/ Monee Takla Hanna
                                                                                                         6                                                        Monee Takla Hanna
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                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ St. Louis ♦ San Francisco




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